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                      UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS
__________________________________________
ORLANDO RILEY

                          Plaintiff,

                          v.
                                                              C.A. 1:15-cv-14137-DJC
MASSACHUSETTS STATE POLICE

                          Defendant.

__________________________________________

                    DEFENDANT MASSACHUSETTS STATE POLICE’S
                        MOTION FOR SUMMARY JUDGMENT

        Defendant Massachusetts State Police (“MSP”) hereby moves, pursuant to Fed. R Civ. P.

56 and L.R. 56.1, for summary judgment on Plaintiff Orlando Riley’s (“Riley”) Amended

Complaint. Plaintiff’s Amended Complaint states one count for alleged race discrimination under

Title VII. Summary judgment should enter for MSP because: (1) Riley cannot establish a prima

facie case of discrimination; (2) Riley cannot establish pretext or that the true reason for MSP’s

actions was discrimination; and (3) Riley cannot establish that MSP’s decision-makers reasonably

should have known of the existence racial bias, if any existed at all.

        In support of this Motion, MSP relies upon its contemporaneously-filed Memorandum of

Law and Local Rule 56.1 Statement of Material Facts, and the Affidavit of Jesse M. Boodoo, Esq.

attaching all exhibits.

        WHEREFORE, MSP respectfully requests that the Court allow its Motion for Summary

Judgment and enter judgment in favor of MSP.




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                                            Respectfully submitted,

                                            MASSACHUSETTS STATE POLICE

                                            By its attorneys,

                                            MAURA HEALEY
                                            ATTORNEY GENERAL,

                                            /s/ Jesse M. Boodoo
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Dated: November 2, 2017




                               CERTIFICATE OF SERVICE

         I, Jesse M. Boodoo, Assistant Attorney General, hereby certify that I have this day,
November 2, 2017, served the foregoing document upon the attorney of record for all parties by
filing it through the ECF system.




                                            /s/ Jesse M. Boodoo
                                            Jesse M. Boodoo




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